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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   JENZIGN LICENSING, LLC, a New                       Case No.: 20-cv-1437 JLS (AGS)
     York company
12                                                       ORDER DISMISSING ACTION FOR
                                                         FAILURE TO PROSECUTE AND
13                                      Plaintiff,
                                                         FAILURE TO COMPLY WITH
14   v.                                                  ORDER TO SHOW CAUSE
15   EVOLVED FOOTWEAR, a Missouri sole
     proprietorship,
16
17                                    Defendant.
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19         On April 8, 2021, the Court issued an Order (“Order,” ECF No. 6) ordering Plaintiff
20   Jenzign Licensing, LLC to show cause why this action should not be dismissed for failure
21   to prosecute. The Court ordered Plaintiff to file either “(1) proof that service of the
22   summons and complaint was timely effectuated or (2) a declaration under penalty of
23   perjury showing good cause for failure to timely effect service upon Defendant
24   accompanied by a motion for leave to service process outside of the 90 day period.” Order
25   at 2. The Court warned that failure to comply with the Order within thirty (30) days will
26   result in dismissal of this action without prejudice. Id. Although more than thirty days
27   have elapsed since the electronic docketing of the Order, Plaintiff has failed to comply with
28   the Order. Accordingly, the Court DISMISSES WITHOUT PREJUDICE this action for
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                                                                                20-cv-1437 JLS (AGS)
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 1   failure to prosecute and failure to comply with the Order. The Clerk of the Court SHALL
 2   CLOSE the file.
 3         IT IS SO ORDERED.
 4   Dated: May 12, 2021
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